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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

Plaintiffs,

v.                                         Case No. 18-cv-00068

UNITED STATES OF AMERICA, et al.,

Defendants,

and

KARLA PEREZ, et al.,

Defendant-Intervenors.


                              NOTICE OF APPEAL
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        PLEASE TAKE NOTICE that the United States and the other Federal Defendants

 hereby appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s

 Memorandum and Order of July 16, 2021 [ECF No. 575], granting in part Plaintiffs’ Motion

 for Summary Judgment [ECF No. 486], and from the Court’s Order of Permanent Injunction

 of July 16, 2021 [ECF No. 576].



Dated: September 10, 2021                           Respectfully submitted,
BRIAN BOYNTON                                       JEFFREY S. ROBINS
Acting Assistant Attorney General                   Attorney-in-Charge
Civil Division                                      Deputy Director

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                                CERTIFICATE OF SERVICE


  I certify that on September 10, 2021, this document was electronically filed with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.

                                                    /s/ James J. Walker
                                                    JAMES J. WALKER
